Case 2:07-md-01873-KDE-MBN Document 14461-1 Filed 06/18/10 Page 1 of 1

NAMED PLAINTIFFS
HATTIE C. SUTTON, ET AL v. SUPERIOR HOMES, LLC, ET AL

“fh

No | Last Name First Name M | Representative Address of THU County | Contractor
1. Longine Brianne J. | Montoya S$. Longino | 4031 Hwy 84 Jefferson | CH2M Hill
(Mother) Prentiss, MS 39474 Davis
2, Longino Montoya 5 4031 Hwy 84 Jefferson | CH2M Hil!
Prentiss, MS 39474 Davis
este Lot

